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                                                                                  CLERK'S OFFICE U.S.DISI COURT
                                                                                         AT Rf> 01 4E,VA
                              IN TH E U N ITED STATE S D ISTRICT COU RT                      FILO
                              FO R TH E W E STERN DISTRICT O F W RGIN IA
                                          R OAN OU D IW SION
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                                                                                      J I
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 U N ITE D STATE S O F AM ERICA,                         CASE N O . 7:13CR00038-1 e :       pu      ERx


 V.                                                     M EM O RAN D U M O PIN ION


  OSH AY TERM L JON ES,                                 By: M ichaelY.U rbansld
                           D efendant.                  United StatesDiétrictJudge

                   D efendantOshayTerrellones,afederalinmateproceedinggcq.
                                                                         K ,Sled amotion for
 reconsideraéon,requesting thatthe courtreview variousissuesthathe previously raised in

 hismotion tovacate,setasideorcorrectsentencepursuantto28U.S.C.j2255. (ECF No.
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,
;
!
r 448).Thecourtaddressed thoseissuesin itsJanuaty 18,2017memorandum opinionin
 whi
   .ch)it,grantedthegoveznment'smoéon todisrniss,disnnissedlones'j2255motion,and
               ,
          :*        -
           '   11ti' ,i'
  deniedh'
         a certifk ate ofappealabilityin theaccom panying order.

                   Rule60$)oftheFederalRulesofCivilProceduteprovidesseveralg'
                                                                            roundsupon
 which apartymayseekrelieffrom afinaljudgment,orderorpzoceeding.Thosegrounds
 include:mistake,newlydiscoveredevidence,fraud,avoidjudgment,asatishedjudgment,or
  anyotherreason thatmayjusùfyrelief.Fed.R.Civ.P.60($(1)-(6).However,incasesthat
 haveproceededunder28U.S.C.j2255,thedistrictcourtdtmustexannineRule60@)modons
  . . .
          to detetminewhethersuch ga1modong istantam ountto ga)successiveapplicadong.''
 Urlited Statesv.W inestock 340 F.3d 200,207 (4th Cit.2003).Iftlaepetiéonerisattempdng
  to again attack hisunderlying conviction orsentence,then them otion forreconsideration

  Kfwillusually am ountto a successive application.': Id.

                   Hezeylonesattemptsto challengelnissentencebyraising thesamegroundsforzelief
Case 7:13-cr-00038-MFU       Document 532 Filed 03/10/17         Page 2 of 2    Pageid#:
                                       4079



ashedid in hisotiginalj2255;thisincludesaclnim forineffecdveassistancebecause
counselfailed to challenge to the Htnlg weightcalculation in thePresentence lnveségaéon

Report,includingclrugsseized from two houseswllichwereattributed toJonesaspat'
                                                                             tofthe
conspiracy,and courterrorforapplying aguidelinerange based on a drug weightofbetween

840 gram sand 2.8 kilogram sofcrack cocaine.Therefote,llism odon forreconsideradon is,

in fact,asecondorsubsequentmotionunder28U.S.C.j2255$).J-da
      Thecourtm ayconsiderasecond ozsuccessivej2255m otion onlyupon specific
certification from theUnited StatesCourtofA ppealsforthe Foutth Circuitthata clnim in

themotionmeetscertain criteria.See28U.S.C.j2255$).AsJoneshasnotsubmittedany
evidence ofhaving obtained ceréfication from the CourtofAppealsto file a second or

successivej2255motion,thecourtiswithoutjurisdictiontoconsiderit.W inestock,340
F.3d at208-09.Based upon thecourt'sfinclingthatloneshasnotmadetherequisite
substanéalshowing ofdenialofaconsétutionalzightasrequiredby28U.S.C.j2253(c),a
cerdficate ofappealabilityis enied.
       ENTER:Tllis /# 1dayofMarch, 2017

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                                                 rZ- $/. ?V' 4U'
                                                 UnitedStatesDis ' Judge




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